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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 09-cv-01796 REB-MEH

  ESTATE OF ANTHONY L. SIMS, By Kathie Sims as Personal Representative,

         Plaintiff,

  v.

  JEFFERSON COUNTY BOARD OF COUNTY COMMISSIONERS;
  SHERIFF TED MINK, in his individual and official capacities; and
  JOHN DOE SHERIFF’S DEPUTY, in his individual and official capacities.

        Defendants.
  ______________________________________________________________________________

        PLAINTIFF’S UNOPPOSED MOTION TO FILE AMENDED COMPLAINT
  ______________________________________________________________________________

         Plaintiff, the Estate of Anthony L. Sims, by Kathie Sims as Personal Representative, and

  through the Estate’s attorneys, David A. Lane and Sara J. Rich of Killmer, Lane & Newman,

  LLP, hereby files this Unopposed Motion to File Amended Complaint and in support thereof

  states as follows:

                                           INTRODUCTION

         Plaintiff filed a Complaint on July 29, 2009 alleging three claims for relief against

  Jefferson County Board of County Commissioners, Sheriff Ted Mink in his individual and

  official capacities, and John Doe Sheriff’s Deputy in his individual and official capacities. The

  parties have since conferred and Plaintiff has agreed to voluntarily dismiss Jefferson County

  Board of County Commissioners as a Defendant given that Sheriff Ted Mink, in his official

  capacity, is an appropriate Defendant against whom to obtain municipal liability. Plaintiff,

  therefore, seeks leave to file an Amended Complaint in order to remove Jefferson County Board

  of County Commissioners as a Defendant. Plaintiff also seeks to amend the Caption which
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  identifies Sheriff Ted Mink as a Defendant to include the modifier “Jefferson County” to Sheriff

  Ted Mink in order to clearly identify the Defendants in this matter.

                                             ARGUMENT

     A. Amendments to the Pleadings Shall be Freely Granted

         Rule 15(a) of the Federal Rules of Civil Procedure provides that amendments to the

  pleadings may be allowed by leave of court or by written consent of an adverse party and “shall

  be freely given when justice so requires.” FED. R. CIV. P. 15(a). The Supreme Court has

  provided guidance in interpreting Rule 15(a):

         If the underlying facts or circumstances relied upon by a plaintiff may be a proper subject
         of relief, he ought to be afforded an opportunity to test his claim on the merits. In the
         absence of any apparent or declared reason -- such as undue delay, bad faith or dilatory
         motive on the part of the movant, repeated failures to cure deficiencies by amendments
         previously allowed, undue prejudice to the opposing party by virtue of allowance of the
         amendment, futility of the amendment, etc. -- the leave sought, should, as the rules
         require, be ‘freely given.’ Of course, the grant or denial of an opportunity to amend is
         within the discretion of the District Court, but outright refusal to grant the leave without
         any justifying reason appearing for the denial is not an exercise of discretion; it is merely
         abuse of that discretion and inconsistent with the spirit of the Federal Rules.

  Foman v. Davis, 371 U.S. 178, 182 (1962). “This discretionary approach of the federal rules

  fosters a full adjudication of the merits of the parties’ disputes within a single comprehensive

  proceeding.” Katzman v. Sessions, 156 F.R.D. 35, 38 (E.D.N.Y. 1994). Indeed, “the purpose of

  [Rule 15(a)] is to promote as complete an adjudication of the dispute between the parties as is

  possible.” LaSalvia v. United Dairymen of Arizona, 804 F.2d 1113, 1119 (9th Cir. 1986)

  (quotation marks omitted), cert. denied, 482 U.S. 928 (1987).

     B. No Party will be Prejudiced by the Granting of this Motion

         Plaintiff does not seek to add any legal claims or essential factual bases for the claims for

  relief. Instead, Plaintiff seeks to file an Amended Complaint in order to dismiss Defendant


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  Jefferson County Board of County Commissioners and more clearly identify the remaining

  Defendants. Defendants, who initially proposed that Defendant Board of County Commissioners

  be dismissed, will not be prejudiced by the Court granting this motion, because the removal of

  Defendant Board of County Commissioners does not affect the legal claims or essential factual

  disputes involved in this matter. Therefore, leave to amend the Complaint should be freely given

  in this instance.

                      CERTIFICATION PURSUANT TO D.C.COLO. LCIVR. 7.1

          Counsel for Plaintiff, Sara J. Rich, certifies that she conferred with counsel for

  Defendants, Writer Mott, who stated that Defendants do not oppose the relief sought herein.

                                             CONCLUSION

          WHEREFORE, Plaintiff respectfully requests that this Court enter an Order Granting

  Plaintiff’s Unopposed Motion to File Amended Complaint, and accept as filed Plaintiff’s

  Amended Complaint and for any further relief as justice so requires.

          DATED this 10th day of November 2009.

                                                 KILLMER, LANE & NEWMAN, LLP

                                                 s/ Sara J. Rich
                                                 _____________________________
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                                                 ATTORNEYS FOR PLAINTIFF




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 10, 2009, I electronically filed a true and correct copy
  of the foregoing PLAINTIFF’S UNOPPOSED MOTION TO FILE AMENDED
  COMPLAINT with the Clerk of Court using the CM/ECF system which will send notification
  of such filing to the following e-mail address:

  Writer Mott          wmott@jeffco.us
  James Burgess        jburgess@jeffco.us
  Assistant County Attorney
  100 Jefferson County Pkwy., Ste. 5500
  Golden, CO 80419

  ATTORNEY FOR DEFENDANTS

                                               s/ Sara J. Rich
                                               ______________________________




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